        Case 2:13-cv-20000-RDP Document 3012 Filed 12/13/22 Page 1 of 2                             FILED
                                                                                           2022 Dec-13 PM 05:15
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


   IN RE: BLUE CROSS BLUE SHIELD                    Master File No. 2:13-CV-20000-RDP
       ANTITRUST LITIGATION
            (MDL No. 2406)                          This document relates to Subscriber-Track
                                                    cases.


     WELLS FARGO’S UNOPPOSED MOTION TO WITHDRAW REQUEST FOR
        EXCLUSION AND REJOIN THE SUBSCRIBER DAMAGES CLASS

       Wells Fargo & Company and the Wells Fargo & Company Health Plan (for Eligible Active

Employees and Their Dependents) (collectively, “Wells Fargo”) respectfully move this Court for

the entry of an Order granting Wells Fargo leave to withdraw its request for exclusion from the

Subscriber Damages Class. In support of its Motion, Wells Fargo relies on the accompanying

Memorandum In Support and Declaration of B. Parker Miller, and all exhibits thereto; and all the

files, records, and proceedings in the above-captioned case.




Dated: December 13, 2022                                Respectfully Submitted,

                                                        /s/ Hirshel M. Hall
                                                        Hirshel M. Hall
                                                        Bar No. 5056H30I
                                                        ALSTON & BIRD LLP
                                                        1201 West Peachtree Street
                                                        Atlanta, GA 30309
                                                        Telephone: (404) 881-7000
                                                        Facsimile: (404) 881-7777
                                                        Hirshel.Hall@alston.com

                                                        Counsel for Wells Fargo & Company and
                                                        the Wells Fargo & Company Health Plan



                                                1
        Case 2:13-cv-20000-RDP Document 3012 Filed 12/13/22 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 13, 2022, the foregoing was electronically filed with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.

                                                           /s/ Hirshel M. Hall
                                                           Hirshel M. Hall




                                                2
